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   STATISTICAL INFORMATION ONLY: Debtor must select the number of each of the following items included in the
                                              Plan.
                          0 Valuation of Security 0 Assumption of Executory Contract or Unexpired Lease 0 Lien Avoidance


                                                                                                                           Last Revised August 1, 2020
                                                                   ​
                             UNITED STATES BANKRUPTCY COURT
                                                DISTRICT OF NEW JERSEY

IN RE:                                                                                                 Case No. 22-12287
                                                                                                       Judge JKS
Ogunlana, Adesina B.
                                            Debtor(s)


                                               CHAPTER 13 PLAN AND MOTIONS


[ ] Original                                   [X] Modified/Notice Required                        Date: June 15, 2023

[ ] Motions Included                           [ ] Modified/No Notice Required

                                           THE DEBTOR HAS FILED FOR RELIEF UNDER
                                            CHAPTER 13 OF THE BANKRUPTCY CODE

                                                 YOUR RIGHTS MAY BE AFFECTED

You should have received from the court a separate Notice of the Hearing on Confirmation of Plan , which contains the date of the
confirmation hearing on the Plan proposed by the Debtor. This document is the actual Plan proposed by the Debtor to adjust debts.
You should read these papers carefully and discuss them with your attorney. Anyone who wishes to oppose any provision of this Plan
or any motion included in it must file a written objection within the time frame stated in the Notice. Your rights may be affected by
this plan. Your claim may be reduced, modified, or eliminated. This Plan may be confirmed and become binding, and included
motions may be granted without further notice or hearing, unless written objection is filed before the deadline stated in the Notice.
The Court may confirm this plan, if there are no timely filed objections, without further notice. See Bankruptcy Rule 3015. If this
plan includes motions to avoid or modify a lien, the lien avoidance or modification may take place solely within the chapter 13
confirmation process. The plan confirmation order alone will avoid or modify the lien. The debtor need not file a separate motion or
adversary proceeding to avoid or modify a lien based on value of the collateral or to reduce the interest rate. An affected lien creditor
who wishes to contest said treatment must file a timely objection and appear at the confirmation hearing to prosecute same.

The following matters may be of particular importance. Debtors must check one box on each line to state whether the plan
includes each of the following items. If an item is checked as “Does Not”or if both boxes are checked, the provision will be
ineffective if set out later in the plan.

THIS PLAN:

[ ] DOES [X] DOES NOT CONTAIN NON-STANDARD PROVISIONS. NON-STANDARD PROVISIONS MUST ALSO BE SET
FORTH IN PART 10.

[ ] DOES [X] DOES NOT LIMIT THE AMOUNT OF A SECURED CLAIM BASED SOLELY ON VALUE OF COLLATERAL,
WHICH MAY RESULT IN A PARTIAL PAYMENT OR NO PAYMENT AT ALL TO THE SECURED CREDITOR. SEE
MOTIONS SET FORTH IN PART 7, IF ANY.

[ ] DOES [X] DOES NOT AVOID A JUDICIAL LIEN OR NONPOSSESSORY, NONPURCHASE-MONEY SECURITY
INTEREST. SEE MOTIONS SET FORTH IN PART 7, IF ANY.

Initial Debtor(s)’Attorney: SDP                 Initial Debtor: ABO                                Initial Co-Debtor:
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Part 1: Payment and Length of Plan
a.   The debtor shall pay $525.00 per month to the Chapter 13 Trustee, starting on April 1, 2022 for approximately 60 months.

b.   The debtor shall make plan payments to the Trustee from the following sources:
     [X] Future Earnings
     [ ] Other sources of funding (describe source, amount and date when funds are available):

c.  Use of real property to satisfy plan obligations:
    [ X ] Sale of real property
          Description: 136-138 North 13th Street, Newark, NJ 07107
          Proposed date for completion: 15 Months From Confirmation Of Modified Plan. Short Sale Offers will also be
entertained.

     [ ] Refinance of real property
         Description:
         Proposed date for completion:

     [ ] Loan modification with respect to mortgage encumbering property
         Description:
         Proposed date for completion:

d.   [ ] The regular monthly mortgage payment will continue pending the sale, refinance or loan modification.

e.   [ ] Other information that may be important relating to the payment and length of plan:


Part 2: Adequate Protection [ ] NONE
a. Adequate protection payments will be made in the amount of $ None to be paid to the Chapter 13 Trustee and disbursed
pre-confirmation to                                                       (creditor).

b. Adequate protection payments will be made in the amount of $2,504.00 to be paid directly by the debtor(s) outside the Plan,
pre-confirmation to _____Select Portfolio Servicing, Inc.___________(creditor).
Part 3: Priority Claims (Including Administrative Expenses)
a. All allowed priority claims will be paid in full unless the creditor agrees otherwise:

                                                                                                                    Amount to be
 Creditor                                                                        Type of Priority                           Paid
                                                                                 Administrative Claim For
 Steven D. Pertuz, Esq.                                                          Professional Fees                     $2,200.00

b. Domestic Support Obligations assigned or owed to a governmental unit and paid less than full amount:
Check one:
[X] None
[ ] The allowed priority claims listed below are based on a domestic support obligation that has been assigned to or is owed to a
governmental unit and will be paid less than the full amount of the claim pursuant to 11 U.S.C.1322(a)(4):

                                                                                                                    Amount to be
 Creditor                                                 Type of Priority              Claim Amount                        Paid
 None

Part 4: Secured Claims



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     a. Curing Default and Maintaining Payments on Principal Residence: [ ]NONE
     The Debtor shall pay to the Trustee (as part of the Plan) allowed claims for arrearages on monthly obligations and the debtor
shall pay directly to the creditor (outside the Plan) monthly obligations due after the bankruptcy filing as follows:

                                                                                                                               Regular
                                                                                                            Amount to         Monthly
                                                                                                Interest    be Paid to        Payment
                                                                                                Rate on    Creditor (In       (Outside
  Creditor                             Collateral or Type of Debt              Arrearage      Arrearage          Plan)           Plan)
                                                                                                           $176,000.0
                                                                                                           0 Per Plan
                                                                                                             Payment
                                                                                                              and Via
                                                                                                               Sale Of
                                                                                                                  Real
                                                                                                             Property
                                                                                                            Within 15
                                                                                                              Months.
                                                                                                           Short Sale
                                                                                                           Offers May        $2,504.00
                                                                                                              Also Be        Adequate
 US Bank c/o Select Portfolio          136-138 North 13th Street,             $176,000.0                   Entertaine       Protection
 Servicing, Inc.                       Newark, nJ                                      0           4.5%              d        Payment

    b. Curing and Maintaining Payments on Non-Principal Residence & other loans or rent arrears: [X] NONE
The Debtor will pay to the Trustee (as part of the Plan) allowed claims for arrearages on monthly obligations and the debtor will
pay directly to the creditor (outside the Plan) monthly obligations due after the bankruptcy filing as follows:

                                                                                                                               Regular
                                                                                                            Amount to         Monthly
                                                                                                Interest    be Paid to        Payment
                                                                                                Rate on    Creditor (In       (Outside
 Creditor                              Collateral or Type of Debt              Arrearage      Arrearage          Plan)           Plan)
 None

     c. Secured claims excluded from 11 U.S.C. 506: [X] NONE
The following claims were either incurred within 910 days before the petition date and are secured by a purchase money security
interest in a motor vehicle acquired for the personal use of the debtor(s), or incurred within one year of the petition date and
secured by a purchase money security interest in any other thing of value:


                                                                                                                            Total to be
                                                                                                                                   Paid
                                                                                                                           through the
                                                                                                                                   Plan
                                                                                                                             Including
                                                                                                Interest     Amount of         Interest
 Name of Creditor                                     Collateral                                   Rate         Claim      Calculation
 None
    d. Requests for valuation of security, Cram-down, Strip Off & Interest Rate Adjustments [X] NONE
    1.) The debtor values collateral as indicated below. If the claim may be modified under Section 1322(b)(2), the secured
creditor shall be paid the amount listed as the "Value of the Creditor Interest in Collateral," plus interest as stated. The portion of
any allowed claim that exceeds that value shall be treated as an unsecured claim. If a secured claim is identified as having "NO
VALUE" it shall be treated as an unsecured claim.




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                                   NOTE: A modification under this section ALSO REQUIRES
                                  the appropriate motion to be filed under Section 7 of the Plan.


                                                                                     Value of
                                                           Total                     Creditor     Annual
                                        Scheduled      Collateral     Superior     Interest in    Interest     Total Amount to be
 Creditor           Collateral               Debt          Value        Liens      Collateral        Rate                    Paid
 None

     2.) Where the Debtor retains collateral and completes the Plan, payment of the full amount of the allowed secured claim
shall discharge the corresponding lien.

    e. Surrender [X] NONE

    Upon confirmation, the stay is terminated as to surrendered collateral only under 11 U.S.C. 362(a) and that the stay under 11
U.S.C 1301 be terminated in all respects. The Debtor surrenders the following collateral:


                                                                                                       Value of        Remaining
                                                                                                    Surrendered        Unsecured
 Creditor                                        Collateral to be Surrendered                         Collateral            Debt
 None
    f. Secured Claims Unaffected by the Plan [X] NONE

    The following secured claims are unaffected by the Plan:
    None


    g. Secured Claims to Be Paid in Full Through the Plan [X] NONE


                                                                                                         Total Amount to be Paid
 Creditor                                           Collateral                                                  through the Plan
 None

Part 5: Unsecured Claims [ ] NONE
    a. Not separately classified allowed non-priority unsecured claims shall be paid:

              Not less than $                   to be distributed pro rata
              Not less than           percent
            X Pro Rata distribution from any remaining funds

    b. Separately Classified Unsecured Claims shall be treated as follows:

                                                                                                                    Amount to be
 Creditor                              Basis for Separate Classification     Treatment                                      Paid
 None

Part 6: Executory Contracts and Unexpired Leases [ ] NONE
     (NOTE: See time limitations set forth in 11 U.S.C. 365(d)(4) that may prevent assumption of non-residential real property
leases in this Plan.)

    All executory contracts and unexpired leases, not previously rejected by operation of law, are rejected, except the following,

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which are assumed:

                       Arrears to be         Nature of Contract or
 Creditor              Cured in Plan         Lease                    Treatment by Debtor            Post-Petition Payment
 Emeka Mgbojuru                              Tenant of Debtor         Assume
 Efrain Gonzalez                             Tenant of Debtor         Assume

Part 7: Motions [ X] NONE
NOTE: All plans containing motions must be served on all affected lienholders, together with local form, Notice of
Chapter 13 Plan Transmittal, within the time and in the manner set forth in D.N.J. LBR 3015-1. A Certification of
Service, Notice of Chapter 13 Plan Transmittal and valuation must be filed with the Clerk of Court when the plan and
transmittal notice are served.

    a. Motion to Avoid Liens under 11 U.S.C. Section 522(f). [ ] NONE
    The Debtor moves to avoid the following liens that impair exemptions:

                                                                                                            Sum of
                                                                                                          All Other
                                                                                                              Liens
                                                                                            Amount of      Against         Amount of
                       Nature of             Type of         Amount of        Value of        Claimed           the        Lien to be
 Creditor              Collateral            Lien                Lien        Collateral     Exemption      Property         Avoided
 None

    b. Motion to Void Liens and Reclassify Claim from Secured to Completely Unsecured. [X] NONE

    The Debtor moves to reclassify the following claims as unsecured and to void liens on collateral consistent with Part 4 above:

                                                                                                           Value of            Total
                                                                               Total                       Creditor       Amount of
                                                             Scheduled     Collateral        Superior    Interest in      Lien to be
 Creditor                       Collateral                        Debt         Value           Liens     Collateral      Reclassified
 None

  c. Motion to Partially Void Liens and Reclassify Underlying Claims as Partially Secured and Partially Unsecured. [X]
NONE

     The Debtor moves to reclassify the following claims as partially secured and partially unsecured, and to void liens on
collateral consistent with Part 4 above:


                                                                               Total          Amount to be              Amount to be
                                                                 Scheduled     Collateral        Deemed                Reclassified as
 Creditor                           Collateral                   Debt          Value              Secured                 Unsecured
 None

Part 8: Other Plan Provisions
    a. Vesting of Property of the Estate

            X Upon Confirmation
              Upon Discharge

    b. Payment Notices



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    Creditors and Lessors provided for in Sections 4, 6 or 7 may continue to mail customary notices or coupons to the Debtor
notwithstanding the automatic stay.

    c. Order of Distribution

    The Standing Trustee shall pay allowed claims in the following order:

         1) Trustee Commissions
         2) Other Administrative Claims
         3) Secured Claims
         4) Lease Arrearages
         5) Priority Claims
         6) General Unsecured Claims

    d. Post-petition claims The Standing Trustee [ ] is, [X] is not authorized to pay post-petition claims filed pursuant to 11
U.S.C. Section 1305(a) in the amount filed by the post-petition claimant.
Part 9: Modification [ ] NONE


NOTE: Modification of a plan does not require that a separate motion be filed. A modified plan must be served in accordance
with D.N.J. LBR 3015-2.

If this plan modifies a Plan previously filed in this case, complete the information below.

Date of Plan being modified: 6/15/23

 Explain below why the Plan is being modified.                         Explain below how the Plan is being modified.
                                                                       Plan is requesting a sale within 15
                                                                       months from confirmation of modifed
 Debtor is seeking to hire a realtor                                   Plan. Plan payments and adequate
 and sell home.                                                        protection payments to remain.
Are Schedules I and J being filed simultaneously with this Modified Plan? [ ] Yes [X] No

Part 10: Non-Standard Provision(s): Signatures Required


         Non-Standard Provisions Requiring Separate Signatures:

         [X] NONE
         [ ] Explain here:


    Any non-standard provisions placed elsewhere in this plan are ineffective.


Signatures


The Debtor(s) and the attorney for the Debtor(s), if any, must sign this Plan.

By signing and filing this document, the debtor(s), if not represented by an attorney, or the attorney for the debtor(s) certify that
the wording and order of the provisions in this Chapter 13 Plan are identical to Local Form, Chapter 13 Plan and Motions, other
than any non-standard provisions included in Part 10.

I certify under penalty of perjury that the above is true.


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Date: 6/15/23                   /s/ Adesina B. Ogunlana
                                Debtor

Date:
                                Joint Debtor

Date: 6/15/23                   /s/ Steven D. Pertuz
                                Attorney for the Debtor(s)




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